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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

KENDRA MABRY, et al.,                            )
         Plaintiffs,                             )
                                                 )
       v.                                        )   CAUSE NO.: 2:16-CV-402-JVB-JEM
                                                 )
CITY OF EAST CHICAGO, et al.,                    )
           Defendants.                           )

                                            ORDER

       This matter is before the Court on Defendants’ Motion to Dismiss [DE 129] filed on May

26, 2021. The Court referred this motion to Magistrate Judge John Martin for a report and

recommendation under 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil Procedure 72(b), and

Local Rule 72-1. [DE 132]. Judge Martin issued his Amended Report and Recommendation

[DE 153] on October 20, 2021, in which he recommended that the Court grant the motion to

dismiss. The parties were given notice that they had fourteen days in which to file objections to

the report and recommendation. No party has filed objections.

       Having reviewed the report and recommendation, the Court finds no clear error. Therefore,

noting the lack of objection, the Court hereby ADOPTS in its entirety Judge Martin’s Amended

Report and Recommendation [DE 153] and incorporates the Amended Report and

Recommendation into this Order. Accordingly, the Court GRANTS Defendants’ Motion to

Dismiss [DE 129], DISMISSES Counts III, IV, V, and VII, and DISMISSES Counts VIII and IX

insofar as they assert claims for the personal liability of Anthony Copeland and Tia Cauley for the

Fair Housing Act disparate impact claims, the claim for violation of Section 1982, and the claim

for violation of due process.
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      SO ORDERED on November 4, 2021.

                                        s/ Joseph S. Van Bokkelen
                                        JOSEPH S. VAN BOKKELEN, JUDGE
                                        UNITED STATES DISTRICT COURT




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